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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DISTRICT

      MICHAEL GONIDAKIS, ET AL.                  :   CASE NO. 2:22-CV-773
                                                 :
            PLAINTIFFS                           :   CHIEF JUDGE ALGENON L.
                                                 :   MARBLEY
      VS.                                        :
                                                 :   CIRCUIT JUDGE AMUL R.
      FRANK LAROSE,                              :   THAPAR
                                                 :
            DEFENDANTS.                          :   JUDGE BENJAMIN J. BEATON

       SIMON PLAINTIFFS’ SECOND MOTION FOR TEMPORARY RESTRAINING
           ORDER, PRELIMINARY INJUNCTION AND PARTIAL SUMMARY
                                JUDGMENT

             By reason of the Ohio Supreme Court Order issued late on March 29, 2022, Ohio,

      deferring consideration of whether the Ohio Congressional Redistricting Plan approved on

      March 2, 2022, by the Ohio Redistricting Commission comports with the Ohio Constitution

      (Exhibit A) , in accordance with Federal Rules of Civil Procedure 56 and 65, Plaintiffs,

      the Honorable Kenneth L. Simon, the Honorable Lewis W. Macklin, II and Helen

      Youngblood, (hereinafter “the Simon Parties”), respectfully move this Honorable Court for

      an immediate order enjoining Defendants, their agents and successors in office, and all

      persons acting in concert with them from administering, implementing, or conducting any

      election for representative for the 6th Ohio United States Congressional District proposed

      in the March 2, 2022, Congressional Redistricting Plan. Exhibit B.

             The district proposed by Defendants was configured through a process that violated

      Section 2 the Voting Rights Act of 1965, as amended, 52 U.S.C. Sec 10301, et. seq. and,

      unlawfully dilutes the voting strength of plaintiffs’ putative class, Black voters in

      Mahoning and Trumbull Counties, Ohio. Although the Simon parties’ do not purport to

      represent Black voters statewide, the violation of the VRA by defendants injured Black
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      voters throughout Ohio . The violations by Defendants were intentional. The Simon parties

      sued to enjoin implementation of this Districting plan timely and have been repeatedly

      required to await action by the State of Ohio to rectify its redistricting impasse. Now the

      Simon parties are being subjected to the risk of immediate irreparable harm by being forced

      to vote in an election where their voting strength has through redistricting been practically

      nullified in violation of the VRA. It is now imperative that this Honorable Court act

      immediately to remedy this violation.

             In this case Defendants consciously ignored the Voting Rights Act, 52 U.S.C.

      §10301, et seq. They also ignored the opinion in Armour v. Ohio., Exhibit C, which

      documents a history of intentional racial discrimination against the Simon parties in

      redistricting by the State of Ohio in Plaintiffs geographic area and evidence of continued

      racially polarized voting. The testimony of defendants chief map maker, Mr. Di Rossi, at

      Exhibit E and the comments of President Huffman and Speaker Cupp at Exhibit F, and

      proof that Defendants failed to comply with the VRA and have as a result drawn district

      maps that dilute the voting strength of Plaintiff’s putative class aside from violating state

      law.

             A Memorandum in support of this motion, Proposed Order and Exhibits are

      attached.

                                                    /s/ Percy Squire_________________
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                                                 MEMORANDUM

          A. BACKGROUND

               Plaintiffs in this action have filed an intervenor complaint that alleges five members

      of the Ohio Redistricting Commission and the Redistricting Commission intentionally

      violated Section 2 of the Voting Rights Act 52 U.S.C. §10301, et seq in connection with

      the proposed configuration of the 2021 Congressional Plan for the 6th Ohio Congressional

      District.    The 6th Congressional District dilutes Plaintiffs voting strength by splitting the

      cities of Youngstown and Warren into separate districts and submerging Youngstown

      Plaintiffs into a racially polarized voting block of voters located in several racially

      polarized voting counties south of Mahoning County.

               Plaintiffs’ motion should be granted as a threshold matter in this action for the

      reason Defendants have stated publicly that the challenged district was configured without

      any regard whatsoever to whether the proposed district impairs Plaintiffs’ ability to

      participate equally in the electoral process and elect representatives of choice. Defendants,

      despite the clear admonitions of the VRA that no voting…standard practice or procedure

      shall be imposed in a manner that dilutes Black voting strength and the historical findings

      set forth by this Court in Armour v. Ohio, 775 F. Supp. 1044 (6th Cir. 1991) concerning the

      role of race in elections in Mahoning County, Ohio, adopted a wholesale policy of ignoring

      racial demographics in Mahoning County elections1. An injunction should be issued for

      the reason Defendants conduct here violates the clear instruction of the United States




      1
        [R]edistricting legislatures will almost always be aware of racial demographics, but that sort of race
      consciousness does not lead inevitably to impermissible race discrimination. See, Shaw v. Reno, 509 U.S.
      630, 646. Here defendants configured districts without any consideration of racial demographics and
      therefore drew districts that failed to take into account historical and previous judicial findings of racial
      block voting..


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      Supreme Court concerning the procedure that should be followed to comply with §2 of the

      VRA. See, Thornburg v. Gingles, 478 U.S. 30 (1986).

             In Thornburg, the United States Supreme Court stated both amended §2 and its

      legislative history make clear, in evaluating a statutory claim of vote dilution through

      districting, courts, and implicitly legislative bodies configuring legislature districts, must

      consider the "totality of the circumstances" and determine, based "upon a searching

      practical evaluation of the past and present reality,' S. Rep. at 30 (footnote omitted),

      whether the proposed structure results in the political process being equally open to

      minority voters. "'This determination is peculiarly dependent upon the facts of each case,"'

      Rogers, supra, at 621, quoting Nevett v. Sides, 571 F.2d 209, 224 (CA5 1978), and requires

      "an intensely local appraisal of the design and impact" of the contested electoral

      mechanisms. 458 U.S. at 458 U. S. 622. The issue underlying this motion is whether

      Defendants violated §2 and Armour by totally disregarding race when they configured the

      districts challenged here. The clear answer to this question is yes. Accordingly, judgment

      should issue preliminarily enjoining the use of the challenged districts and granting partial

      summary judgment in relation to the question of whether Defendants violated the VRA by

      intentionally ignoring the totality of circumstances and the 15th Amendment by ignoring

      the VRA intentionally.

         B. DEFENDANTS’ POLICY CONCERNING ROLE OF RACE CONTRARY
            TO LAW

             In order to comply with the VRA the redistricting process must take into

      consideration whether a white "majority votes sufficiently as a bloc to enable it…usually

      to defeat the minority's preferred candidate." Thornburg v. Gingles, 478 U.S. 30, 51 (1986).

      Here, Plaintiffs provided evidence to Defendants demonstrating that consideration of race



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      were necessary to comply with the findings in Armour to prevent "retrogression in respect

      to Plaintiffs’ ability…to elect their preferred candidates of choice.'" See, Alabama

      Legislative Black Caucus v. Alabama, 135 S. Ct. 1257, 1263 (2015) (quoting 52 U.S.C. §

      10304(b)). Defendants here stated explicitly that they made a policy level decision to

      completely disregard race and whether the proposed districts impair the rights of Black

      Mahoning County voters or takes into account their findings in Armour historical.

             The Voting Rights Act violations complained of herein were not innocent mistakes.

      Defendants were fully aware of their duties under the VRA, but conspired to intentionally

      violate the previous ruling of this Court in Armour and the clear language of Section 2 in

      favor of partisan political advantage. Defendants intentionally discriminated by ignoring

      Armour’s 15th Amendment findings and failed to follow federal VRA methodology, which

      specifically harmed Plaintiffs’ class in Mahoning County, but also generally diluted Black

      voting power across Ohio.

             The specific intentional conduct of Defendants complained of herein should operate

      to invalidate the challenged plans because, despite having been advised of the findings of

      this Court in Armour concerning historical racial discrimination and the duty under the

      VRA to engage in an intensely local appraisal of indigenous political reality in Ohio and

      Mahoning County and the totality of circumstances test set forth in the Senate Report

      enacting Section 2, Defendants gave specific instructions to their staff responsible for the

      drawing of district maps to disregard race, racial bloc voting or any other racial

      consideration in connection with district configuration.. (See, Exhibit D for input provided

      by Plaintiffs to Defendants during redistricting.)

             Further, support for this assertion is found in the following exchange that occurred

      during hearings before the Ohio Redistricting Commission on September 9, 2021.

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            Ray DiRossi: Urn, [00:03:30] I am Ray DiRossi and as was mentioned, I'm
            from the caucus staff for the Senate Majority Caucus and my colleague
            Blake Springhetti, caucus staff for the Ohio House Majority Caucus. Urn,
            co-chairs and distinguished members of the Redistricting Commission, it's
            great to be with you today.

            Sykes:         Uh, thank you to the co-chairs and to Mr. Springhetti and
            Mr. DiRossi. Thank you, uh, for the work that you put together, uh, put, so
            you could present to us to get, today. Excuse me. Uh, my question is specific
            to, urn, how this current map complies with, uh, any provisions of the
            Voting Rights Act and what provisions of the Voting Rights Act [00:22:30]
            d- did you consider in constructing this map that you presented, or these
            maps that you presented today?

            Ray DiRossi: Co-chairs, Leader Sykes, thank you for the question. We did
            not use demographic data or racial data in the production of our maps.
            Sykes: Any follow up.

            Vernon Sykes: Yes, please.

            Sykes:         Thank you for answering the question. Uh, so are there any
            provisions of the Voting Rights Act in which you considered while you
            drew the, or while you drew these maps [00:23:00] before us today?

            Ray DiRossi: I guess I would ... Co-chairs I guess I would say it on my
            previous statement, we did not use racial data or demographic data for the
            map, but we feel that the map complies with all the provisions of the Ohio
            Constitution.

            Sykes: Thank you. Uh, I appreciate your answer, and I, I certainly
            appreciate the brevity of it. Uh, can you explain why you didn't consider
            any parts of the Voting Rights Act in your consideration of these maps
            [00:23:30] before us today?

            Ray DiRossi: Well, I said we didn't consider racial data or demographic
            data in our maps, but we were directed not to use that data by the legislative
            leaders, and so we did not use it.

            Audience:       (laughs)

            Vernon Sykes: Yeah. [inaudible 00:23:46].

            Sykes:           So I, I would count myself as a legislative leader and I don't
            think that I shared that information with you and I, this is not an ambush,
            this is simply a question. The Voting Rights Act is certainly, uh, a part of
            our, uh, [00:24:00] election and electoral fabric. Uh, and so really just trying
            to get a better idea of how we are, or not in compliance with that, with these

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             maps. So, urn, hopefully we can have some deeper conversations about that,
             but, but again, thank you for your responses.

             Ray DiRossi: Thank you.

      See, Exhibit E, DiRossi Transcript, pp. 789-790. Also see, Exhibit F for comments by

      President Huffman and Speaker Cupp concerning refusal to consider racially polarized

      voting and racial demographics.

             This testimony is clear evidence that the legislative leadership in Ohio intentionally

      disregarded whether the proposed districts diluted Black voting strength or the existence

      among other things, of racial block voting.

             According to Mr. DiRossi, the lead representative for defendants in the redistricting

      process, the Defendants intentionally decided to ignore race, and the Voting Rights Act,

      but also previous judicial findings of official racial discrimination in legislative districting

      in Ohio. The approach to redistricting followed the Defendants, results in vote dilution,

      because it ignores preexisting judicial findings in Armour of racial block voting and the

      Senate Report factors discussed in Armour.

         C. VOTING RIGHTS ACT

             Section 2 of the Voting Rights Act of 1965, 52 U.S.C. § 10301, prohibits voting

      practices and procedures that discriminate on the basis of race, color, or membership in a

      language minority group. "The essence of a § 2 claim is that a certain electoral laws,

      practices, or structures interact with social and historical conditions to cause an inequality

      in the opportunities enjoyed by protected voters to elect their preferred representatives."

      Gingles, 478 U.S. at 47. Defendants failed to determine whether the proposed districts

      caused inequality despite a permanent injunction from Armour and the duty to consider the




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      totality of circumstances. This threshold failure by Defendants warrants the entry of

      summary judgment on Plaintiffs’ VRA claim.

         D. SUMMARY JUDGMENT IN SECTION 2 LITIGATION

             Summary judgment is warranted where "the movant shows that there is no genuine

      dispute as to any material fact and the movant is entitled to judgment as a matter of law."

      Fed. R. Civ. P. 56(a); accord Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986).

      In deciding whether there is a genuine issue of material fact, the court must draw all

      justifiable inferences in the nonmoving party's favor and accept the nonmoving party's

      evidence as true. Anderson, 477 U.S. at 255. To determine which facts are "material," a

      court must look to the substantive law on which the claim rests. Celotex Corp. v. Catrett,

      477 U.S. 317, 322 (1986). A "genuine issue" is one whose resolution could affect the

      outcome of the action. Id. In the absence of a genuine issue of material fact, the court may

      enter judgment against the movant if the non-movant is entitled to judgment as a matter of

      law. See, e.g., Employers Ins. of Wausau v. Petroleum Specialties, Inc., 69 F.3d 98, 104

      (6th Cir. 1995); Markva v. Haveman, 168 F. Supp. 2d 695, 706-07 (E.D. Mich. 2001).

             In Section 2 cases, summary judgment usually "presents particular challenges due

      to the fact-driven nature of the legal tests required by the Supreme Court." Ga. State

      Conference of NAACP v. Fayette Cty. Bd. of Comm'rs, 775 F.3d 1336, 1348 (11th Cir.

      2015). Because district courts must conduct "a searching practical evaluation of the past

      and present reality" in a jurisdiction, Gingles, 478 U.S. at 79, and a "comprehensive, not

      limited, canvassing of relevant facts," De Grandy, 512 U.S. at 1011, summary adjudication

      is rarely possible, see, e.g., Metts v. Murphy, 363 F.3d 8, 12 (1st Cir. 2004). Particularly

      when resolution turns on "disputed issues presented by the experts’ analysis,” full

      development of the record is often necessary. Mallory v. Eyrich, 707 F. Supp. 947, 054

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      (S.D. Ohio 1989). Unlike the usual §2 case here Defendants openly concede that they

      ignored the totality of circumstances.       Accordingly, a VRA violation should glow

      automatically from that failure.

             Defendants actions, the total failure to even consider race, renders the U.S.

      Congressional Plan invalid which warrants the issuance of a preliminary injunction.

      Support for this assertion is below.

             Defendants began the Redistricting process with an express declaration from lead

      map drawer Mr. Ray DiRossi, that Ohio’s legislative leadership instructed map drawers to

      not consider race. This unlawful policy has been followed by Defendants throughout the

      map drawing process and infects the Third Plan. See, Exhibit E, DiRossi, Deposition, pp.

      789-790.

             As recently as March 23, 2022, the Defendant Ohio Redistricting Commission

      reiterated its intention to craft new legislative districts without considering race and issued

      unlawful instructions to newly engaged experts to that effect. See, Item 9, Exhibit F, Rules

      issued to map drawers for 4th Round. Ironically, Defendants contend that federal law

      prohibits consideration of race. See, Exhibit F, Testimony of Mr. Huffman starting at

      01:19:25.” Federal law prohibits considerations of race …” Also see Testimony of Speaker

      Cupp, Exhibit C, 01:19:25. “No information like that has been submitted to the

      Commission.” Contrary to these statements the Simon Parties submitted “information like

      that” to the Commission on multiple occasions, including on its initial day of hearings on

      August 23, 2021. Exhibit D. Simon Parties initial input.

         E. TEMPORARY RESTRAINING ORDER

             The Supreme Court has "long held that federal courts may in some circumstances

      grant injunctive relief against" state and federal officials "who are violating, or planning to

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       violate, federal law." Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326-27

       (2015) (citing Osborn v. Bank of United States, 9 Wheat. 738, 838-39 (1824); Ex parte

       Young, 209 U.S. 123, 150-51 (1908); Am. Sch. of Magnetic Healing v. McAnnulty, 187

       U.S. 94, 110 (1902)). This power to enjoin unlawful "actions by state and federal officers

       is the creation of courts of equity, and reflects a long history of judicial review of illegal

       executive action, tracing back to England." Id. At 327. While Congress may prohibit courts

       from awarding such equitable relief, id. at 327-28, Congress need not confer the power to

       award such relief in order for courts to exercise that power: the power is an inherent aspect

       of the courts' equitable authority, see, e.g., Am. School of Magnetic Healing, 187 U.S. at

       110; see also Barry v. Lyon, No. 13-cv-13185, 2015 U.S. Dist. LEXIS 174347, at *5 (E.D.

       Mich. June 5, 2015); In re Trump, 928 F.3d 360, 373 (4th Cir. 2019); Int'l Refugee

       Assistance Project v. Trump, 883 F.3d 233, 287 (4th Cir. 2018) (en banc) (Gregory, J.,

       concurring); Sierra Club v. Trump, 929 F.3d 670, 694 (9th Cir. 2019); CNSP, Inc. v. City

       of Santa Fe, 755 F. App'x 845, 849 (10th Cir. 2019).

              Courts must balance "four factors ... when considering a motion for a temporary

       restraining order: (1) whether the movant has a strong likelihood of success on the merits;

       (2) whether the movant would suffer irreparable injury without the injunction; (3) whether

       issuance of the injunction would cause substantial harm to others; and (4) whether the

       public interest would be served by issuance of the injunction." City of Pontiac Retired

       Emples. Ass'n v. Schimmel, 751 F.3d 427, 430 (6th Cir. 2014) (internal quotation marks

       omitted). The standard for a permanent injunction is identical, except that the movant must

       show "actual success on the merits" instead of a likelihood of success on the merits. Amoco

       Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 546 n.12 (1987). A permanent injunction is in

       place here via Armour. Defendants totally ignored Armour.

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              The purpose of a temporary restraining order is "to prevent irreparable injury so as

       to preserve the court's ability to render a meaningful decision on the merits." United States

       v. Alabama, 791 F.2d 1450, 1459 (11th Cir. 1986) (affirming preliminary injunction). An

       injury is considered to be irreparable "if it cannot be undone through monetary remedies."

       Scott v. Roberts, 612 F.3d 1279, 1295 (11th Cir. 2010); Cunningham v. Adams, 808 F.2d

       815, 821 (11th Cir. 1987); see also Charles H. Wesley Educ. Found., Inc. v. Cox, 32*,

       Supp. 2d 1358, 1368 (N.D. Ga. 2004) (Cox I), aff'd, 408 F.3d 1349 (11th Cir. 2005) (Cox

       II) ("no monetary award can remedy the fact that [plaintiff] will not be permitted to vote in

       the precinct of her new residence."); see also United States v. Georgia, 892 F. Supp. 2d

       1367, 1377 (N.D. Ga. 2012) (entering a preliminary injunction where "the potential

       deprivation of the ability to vote, the most basic of American citizens' rights, outweigh[ed]

       the cost and inconvenience" that the state might suffer, which were comparatively minor).

              As explained below, injunctive relief is warranted, because all four elements

       strongly weigh in Plaintiffs' favor. Plaintiffs are likely to succeed on the merits. They will

       suffer irreparable harm if the 2022 elections are conducted using constitutionally infirm

       districts. The balance of hardships weighs in favor of Plaintiffs as well: Ohioan’s

       fundamental right to vote would be infringed absent an injunction, outweighing any burden

       that Defendant might experience in complying with the requested injunction. The requested

       injunction would serve the public interest because protecting the right to vote is

       unquestionably in the public interest.

           1. PLAINTIFFS ARE LIKELY TO PREVAIL ON THE MERITS OF THEIR
              VRA CLAIM

              A claim of racial gerrymandering usually requires "a two-step analysis." Cooper v.

       Harris, 137 S. Ct. 1455, 1463 (2017). "First, the plaintiff must prove that 'race was the



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       predominant factor motivating the legislature's decision to place a significant number of

       voters within -or without a particular district.'" Id. (quoting Miller v. Johnson, 515 U.S.

       900, 916 (1995)). "Second, if racial considerations predominated over others, the design of

       the district must withstand strict scrutiny. The burden thus shifts to the State to prove that

       its-race-based sorting of voters serves a 'compelling interest' and is 'narrowly tailored' to

       that end." Id. at 1464. A compelling interest may require racially gerrymandered Districts

       in order to comply with the Voting Rights Act. Here, whether the race required a given

       district structure was totally ignored. This act itself harmed Plaintiffs in light of the locales

       history, as documented in the Armour Opinion and in the subsequent history of Mahoning

       County that Defendants totally disregard.

            2. IRREPARABLE INJURY

               In the absence of the requested injunction, Plaintiffs will suffer irreparable harm.

       "An injury is irreparable 'if it cannot be undone through monetary remedies.'" Scott, 612

       F.3d at 1295 (quoting Cunningham v. Adams, 808 F.2d 815, 821 (11th Cir. 1987)).

       Recognizing this well-settled principle of law, courts considering motions for preliminary

       injunctions have repeatedly found that state actions infringing on the right to vote constitute

       irreparable injury. See, e.g., Williams v Rhodes, 393 U.S. 23, 30 (1968).

            3. THE BALANCE OF THE EQUITIES WEIGHTS IN FAVOR OF
              PLAINTIFFS

               The irreparable injury that Plaintiffs will suffer absent an injunction outweighs any

       harm Defendant will suffer if the requested injunction is granted. Plaintiffs will suffer

       irreparable injury to their fundamental right to vote absent an injunction. See Williams v.

       Rhodes, 393 U.S. 23, 30 (1968) ("the right of qualified voters ... to cast their votes

       effectively ... rank[s] among our most precious freedoms."); see also Scott, 612 F.3d at



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       1295 (citation omitted). By contrast, any potential harm Defendant would face under the

       requested injunction would be substantially less, particularly in light of the schedule this

       Court has set to avoid any interference with relevant pre-election deadlines.

               "If the currently existing status quo itself is causing one of the parties irreparable

       injury, it is necessary alter the situation so as to prevent the injury, either by returning to

       the last uncontested status quo between the parties, by the issuance of a mandatory

       injunction, or by allowing the parties to take proposed action that the court finds will

       minimize the irreparable injury." Fayette County, 118 F. Supp. 3d at 1349 (quoting Canal

       Auth. of Fla. v. Callaway, 489 F.2d 567, 576 (5th Cir. 1974)). Indeed, "once a State's

       legislative apportionment scheme has been found to be unconstitutional, it would be the

       unusual case in which a court would be justified in not taking appropriate action to insure

       [sic] that no further elections are conducted under the invalid plan." Reynolds, 377 U.S. at

       585.

              4. PUBLIC INTEREST

               The Supreme Court has long recognized that "[t]he right to vote freely for the

       candidate of one's choice is of essence of a democratic society and any restrictions on that

       right strike at the heart of representative government." Reynolds, 377 U.S. at 555; see

       Williams v. Rhodes, 393 U.S. 23, 30 (1968) ("[T]he right of qualified voters…to cast their

       votes effectively ... rank[s] among our most precious freedoms."); Yick Wo v. Hopkins,

       118 U.S. 356, 370 (1886) (the right to vote is "preservative of all rights"). In recognition

       of this fundamental principle, courts have repeatedly held that an infringement on the right

       to vote constitutes irreparable injury. See, e.g., Dillard, 640 F. Supp. at 1363; Harris v.

       Graddick, 593 F. Supp. 128, 135 (M.D. Ala. 1984).




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               The requested injunction would not be adverse to public interest. Plaintiffs and the

       citizens of Alabama have a fundamental right to "to cast their votes effectively." Williams

       v. Rhodes, 393 U.S. 23, 30 (1968) Additionally, "the protection of 'franchise-related rights

       is without question in the public interest,' and in such a situation, public interest is "best

       served by ensuring …that all citizens ... have an equal opportunity to elect the

       representatives of their choice." Fayette County, 118 F. Supp. 3d at 1349 (quoting x II, 408

       F.3d at 1355). Plaintiffs' requested injunction would protect their franchise-related rights

       by allowing them to participate in elections using conditionally drawn districts and ensure

       that citizens of have an equal opportunity to elect the representatives of their choice; thus,

       the requested injunction would be in the public interest. On the contrary, allowing the 2022

       election cycle to proceed with the racially gerrymandered map does not further any public

       interest.

               It is unfortunate that Defendants chose to ignore the VRA and make it necessary to

       revive evidence of past racial injustices in order to demonstrate why all Senate Report

       factors should have been considered by Defendants when drawing district lines.

               Defendants decision to not consider the racial history of Blacks and voting in

       Mahoning County requires resort to the type analysis the VRA was designed to avoid.

               As stated in Gingles:

               The Senate Report states that one reason the Senate Committee abandoned
               the intent test was that

               "the Committee . . . heard persuasive testimony that the intent test is
               unnecessarily divisive because it involves charges of racism on the part of
               individual officials or entire communities."

               S.Rep. at 36. The Committee found the testimony of Dr. Arthur S.
               Flemming, Chairman of the United States Commission on Civil Rights,
               particularly persuasive. He testified:



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             "[Under an intent test,] Mitigators representing excluded minorities will
             have to explore the motivations of individual council members, mayors, and
             other citizens. The question would be whether their decisions were
             motivated by invidious racial considerations. Such inquiries can only be
             divisive, threatening to destroy any existing racial progress in a community.
             It is the intent test, not the results test, that would make it necessary to brand
             individuals as racist in order to obtain judicial relief."

             Ibid. (footnote omitted). The grave threat to racial progress and harmony
             which Congress perceived from requiring proof that racism caused the
             adoption or maintenance of a challenged electoral mechanism is present to
             a much greater degree in the proposed requirement that plaintiffs
             demonstrate that racial animosity determined white voting patterns. Under
             the old intent test, plaintiffs might succeed by proving only that a limited
             number of elected officials were racist; under the new intent test, plaintiffs
             would be required to prove that most of the white community is racist in
             order to obtain judicial relief. It is difficult to imagine a more racially
             divisive requirement.

             A second reason Congress rejected the old intent test was that, in most cases,
             it placed an "inordinately difficult burden" on § 2 plaintiffs. Ibid. The new
             intent test would be equally, if not more, burdensome. In order to prove that
             a specific factor -- racial hostility -- determined white voters' ballots, it
             would be necessary to demonstrate that other potentially relevant causal
             factors, such as socioeconomic characteristics and candidate expenditures,
             do not correlate better than racial animosity with white voting behavior. As
             one commentator has explained:

             "Many of the[se] independent variables . . . would be all but impossible for
             a social scientist to operationalize as interval-level independent variables
             for use in a multiple regression equation, whether on a step-wise basis or
             not. To conduct such an extensive statistical analysis as this implies,
             moreover, can become prohibitively expensive."

             "Compared to this sort of effort, proving discriminatory intent in the
             adoption of an at-large election system is both simple and inexpensive."

             Dilution Lawsuits, 28 How.L.J. 463, 492 (1985) (footnote omitted).

             The final and most dispositive reason the Senate Report repudiated the old
             intent test was that it "asks the wrong question." S.Rep. at 36. Amended § 2
             asks instead "whether minorities have equal access to the process of electing
             their representatives." Ibid.

             Focusing on the discriminatory intent of the voters, rather than the behavior
             of the voters, also asks the wrong question. All that matters under § 2 and
             under a functional theory of vote dilution is voter behavior, not its
             explanations. Moreover, as we have explained in detail, supra, requiring

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              proof that racial considerations actually caused voter behavior will result --
              contrary to congressional intent -- in situations where a black minority that
              functionally has been totally excluded from the political process will be
              unable to establish a § 2 violation. The Senate Report's remark concerning
              the old intent test thus is pertinent to the new test: the requirement that a
              "court . . . make a separate . . . finding of intent, after accepting the proof of
              the factors involved in the White [v. Regester, 412 U. S. 755] analysis . . .
              [would] seriously clou[d] the prospects of eradicating the remaining
              instances of racial discrimination in American elections."

          F. CONCLUSION

              For the above reasons, partial summary judgment should be entered in favor of

       Plaintiffs and a temporary restraining order issued.

              A proposed order and Exhibits are attached.



                                                      /s/ Percy Squire_________________
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                                    CERTIFICATE OF SERVICE

              The undersigned hereby certifies that a copy of the foregoing was served by

       operation of the United States District Court, Southern District of Ohio electronic filing

       system, on March 31, 2022.


                                                      s/Percy Squire, Esq.
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                                       EXHIBIT LIST

          EXHIBIT A.      Ohio Supreme Court March 29, 2022 Order

          EXHIBIT B.      Congressional Redistricting Plan

          EXHIBIT C.      Armour v. State of Ohio, 775 F. Supp. 1044 (N.D. Ohio 1991)

          EXHIBIT D.      Plaintiffs Input to Defendants During Redistricting Process

          EXHIBIT E.      DiRossi Deposition Transcript

          EXHIBIT F.       Testimony of President Huffman and Speaker Cupp at March 23,
            2022 Redistrict Commission Meeting and Item 9 Redistricting Rules




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